                      Case
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            8                                  UNITED STATES DISTRICT COURT
            9                               NORTHERN DISTRICT OF CALIFORNIA
           10                                          SAN JOSE DIVISION
           11
                 CHAIM KOWALSKY, on Behalf of Himself                CASE NO.: 10-CV-02176 LHK
           12    and All Others Similarly Situated,
                                                                     [PROPOSED] ORDER REVISING CASE
           13                         Plaintiff,                     SCHEDULE

           14           v.

           15    HEWLETT-PACKARD COMPANY and                         Judge: Lucy H. Koh
                 DOES 1 Through 100, inclusive,
           16
                                      Defendants.
           17

           18
                        PURSUANT TO THE STIPULATION OF THE PARTIES, filed on March 28, 2012, and
           19
                 good cause appearing therefor, IT IS HEREBY ORDERED that the case schedule set by the Court on
           20
                 March 15, 2012 (Dkt. #100) be revised as follows:
           21
                               Deadline to Answer or Otherwise Respond to Amended Complaint: May 14, 2012
           22
                        All other scheduling dates shall remain unchanged.
           23

           24             April 2, 2012
                 DATED: ___________________                                  ______________________________
           25                                                                HON. LUCY H. KOH
                                                                             UNITED STATES DISTRICT JUDGE
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Gibson, Dunn &
Crutcher LLP
                                           [PROPOSED] ORDER REVISING CASE SCHEDULE
                                                   CASE NO.: 10-CV-02176 LHK
